          Case 4:03-cr-40031-FDS Document 80 Filed 03/28/08 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
UNITED STATES of AMERICA                  )
                                          )
      v.                                  )                  Criminal No.
                                          )                  03-40031-FDS
CANDIDO RODRIGUEZ,                        )
                                          )
      Defendant.                          )
__________________________________________)


                          ORDER ON DEFENDANT’S MOTION
                         TO MODIFY TERM OF IMPRISONMENT

SAYLOR, J.

       On motion of the defendant pursuant to 18 U.S.C. § 3582(c)(2), pursuant to a joint

sentencing recommendation, and after considering the sentencing factors set forth in 18 U.S.C.

§ 3553(a), the term of imprisonment of defendant Candido Rodriguez is hereby reduced from 60

months to time served. All other components of defendant’s sentence, including the requirement

that he serve a three-year term of supervised release, shall remain the same.

So Ordered.

                                                     /s/ F. Dennis Saylor IV
                                                     F. Dennis Saylor IV
Dated: March 28, 2008                                United States District Judge
